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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS




WILLIAM VEAL,
     Plaintiff,                          Civil Action No. 1:21-cv-10265-ADB

v.

COMMISSIONER OF BOSTON
CENTERS FOR YOUTH &
FAMILIES, CITY OF BOSTON,
MARTIN JOSEPH WALSH,
WILLIAM MORALES,
MICHAEL SULPRIZIO,
LORNA BOGNANNO,
THOMAS BOWE C.P.A PC,
THOMAS BOWE, BONNIE
WALLACE,
JANE DOE, and JOHN DOE

                   Defendants.



                          NOTICE OF APPEARANCE

      Pursuant to Local Rule of the United States District Court for the District of

Massachusetts 83.5.2, the undersigned counsel hereby gives notice of her

appearance of counsel for Defendants Commissioner of Boston Centers for Youth &

Families, City of Boston, Martin Joseph Walsh, William Morales, Michael Sulprizio,

and Lorna Bognanno.
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                                                    Respectfully submitted,

                                                    CITY OF BOSTON DEFENDANTS

                                                    By their attorney,

                                                    Adam N. Cederbaum,
                                                    Corporation Counsel


                                                    /s/ Samantha Fuchs
                                                    BBO No. 708216
                                                    Assistant Corporation Counsel
                                                    City of Boston Law Department One
                                                    City Hall Square, Room 615 Boston,
                                                    MA 02201
Dated: February 9, 2022                             (617) 635-4477
                                                    samantha.fuchs@boston.gov



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day, a copy of this document filed through the CM/ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing and by email to the parties.

                                              /s/ Samantha Fuchs
                                               Samantha Fuchs

Dated: February 9, 2022
